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8                         UNITED STATES DISTRICT COURT
9                      SOUTHERN DISTRICT OF CALIFORNIA
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11    RICHARD M. SCHAIRED,                         Case No.: 22cv0736-BAS-MDD
12                                Plaintiff,
                                                   NOTICE AND ORDER FOR
13    v.                                           EARLY NEUTRAL
                                                   EVALUATION AND CASE
14    MONTEREY FINANCIAL
                                                   MANAGEMENT VIDEO
      SERVICES, INC.,
15                                                 CONFERENCE
                                Defendant.
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17
           IT IS HEREBY ORDERED that an Early Neutral Evaluation and
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     Case Management Conference in the above-entitled action will be held on
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     April 4, 2023 at 9:30 a.m., with United States Magistrate Judge Mitchell
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     Dembin, via VIDEOCONFERENCE. Parties must comply with this Court’s
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     Civil Chambers Rules regarding any requests for continuances. Among other
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     things, this Court’s Civil Chambers Rules require telephonic notification to
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     chambers followed by a written motion no less than seven days prior to the
24
     scheduled conference.
25
           Pursuant to Civil Local Rule 16.1(c) of the Local Rules of the United
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     States District Court for the Southern District of California, all counsel and
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                                                                      22cv0736-BAS-MDD
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1    all parties, and any other person(s) who has full and unlimited
2    authority to negotiate and enter into a binding settlement shall
3    appear at the conference and shall be prepared to discuss the claims,
4    defenses and damages. Full authority to settle means that the
5    individual present at the settlement conference has the unfettered
6    discretion and authority to: 1) fully explore settlement options and to
7    agree at that time to any settlement options; 2) agree at that time to
8    any settlement terms acceptable to the parties; 3) change the
9    settlement position of a party; and 4) negotiate monetary awards
10   without being restricted to a specific sum certain. Governmental
11   entities may appear through litigation counsel only. As to all other
12   parties, appearance by litigation counsel only is not acceptable.
13         The Court will use its official Zoom video conferencing account to hold
14   the Conference. On or before March 28, 2023, counsel for each party must
15   email to the Court at efile_dembin@casd.uscourts.gov the name and title of
16   each participant and an e-mail address for each participant to receive the
17   Zoom videoconference invitation.
18         Confidential Early Neutral Evaluation briefs shall be submitted to
19   chambers in person or via email (efile_dembin@casd.uscourts.gov) on or
20   before March 28, 2023. The ENE brief must include the information
21   required by this Court’s Civil Chambers Rules.
22         Plaintiff’s counsel shall give notice of the Early Neutral Evaluation
23   conference to all defendants making an appearance after the date of this
24   notice.
25         All conference discussions will be informal, off the record, privileged
26   and confidential.
27         Prior to the ENE, counsel for each party must meet and confer, make
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                                                                       22cv0736-BAS-MDD
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1    the initial disclosures required by Fed. R. Civ. P. 26(a) and create a Joint
2    Discovery Plan as provided in this Court’s Civil Chambers Rules. The Joint
3    Discovery Plan must be submitted to the Court in the same manner as ENE
4    briefs no later than seven days prior to the conference.
5          Immediately following the ENE, if no settlement is reached, the Case
6    Management Conference will occur. Following the Case Management
7    Conference, the Court will issue a Scheduling Order under Fed. R. Civ. P. 16.
8          Questions regarding this case may be directed to the Magistrate Judge's
9    chambers at (619) 446-3972.
10         IT IS SO ORDERED.
11   Dated: February 17, 2023
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1                  NOTICE OF RIGHT TO CONSENT TO TRIAL
2              BEFORE A UNITED STATES MAGISTRATE JUDGE
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4          IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. § 636(c),
5    YOU ARE HEREBY NOTIFIED THAT A U.S. MAGISTRATE JUDGE OF
6    THIS DISTRICT MAY, UPON THE CONSENT OF ALL PARTIES, ON
7    FORM 1A AVAILABLE IN THE CLERK'S OFFICE, CONDUCT ANY OR
8    ALL PROCEEDINGS, INCLUDING A JURY OR NON-JURY TRIAL, AND
9    ORDER THE ENTRY OF A FINAL JUDGMENT. COUNSEL FOR THE
10   PLAINTIFF SHALL BE RESPONSIBLE FOR OBTAINING THE CONSENT
11   OF ALL PARTIES, SHOULD THEY DESIRE TO CONSENT.
12         YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT
13   OR NOT TO CONSENT IS ENTIRELY VOLUNTARY AND SHOULD BE
14   COMMUNICATED SOLELY TO THE CLERK OF COURT. ONLY IF ALL
15   PARTIES CONSENT WILL THE JUDGE OR MAGISTRATE JUDGE TO
16   WHOM THE CASE HAS BEEN ASSIGNED BE INFORMED OF YOUR
17   DECISION.
18         JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE
19   APPEALABLE TO THE U.S. COURT OF APPEALS IN ACCORDANCE
20   WITH THIS STATUTE AND THE FEDERAL RULES OF APPELLATE
21   PROCEDURE.
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